      Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 1 of 13




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION




TRACY WRAGG,                        :
                                    :
                     Plaintiff,     :             Civil Action File No.
                                    :
     v.                             :
                                    :
SAGE HOSPITALITY GROUP, LLC, :                    Jury Trial Demand
and, WHITMAN/PETERSON, LLC,         :
                                    :
                     Defendants.    :
____________________________________:

                                 COMPLAINT

      COMES NOW Plaintiff, Tracy Wragg (“Plaintiff”), by and through counsel

undersigned, and hereby submits her Complaint against Defendants, Sage

Hospitality Group, LLC (“Sage”), and Whitman/Peterson, LLC (“Whitman”)

(Sage and Whitman collectively referred to herein as “Defendants”), and shows the

Court, as follows:

                                Cause of Action

                                        1.

      This cause of action arises under the provisions of Title VII of the Civil

Rights Act of 1964 as amended, 42 U.S.C. §§ 2000e et seq. ("Title VII"), seeking a

                                       -1-
     Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 2 of 13




remedy for sex discrimination and retaliation, and the Age Discrimination and

Employment Act of 1967, as amended, 29 U.S.C. § 621, et seq. (“ADEA”),

seeking a remedy for discrimination and retaliation.

                         Parties, Jurisdiction and Venue

                                         2.

      At all times relevant to this action, Plaintiff was a resident of the State of

Georgia and of the Northern District of Georgia.

                                         3.

      Upon information and belief, Sage is a domestic limited liability company,

with its principal office located at 1130 Hurricane Shoals Road, NE, Suite 400,

Lawrenceville, Georgia 30043.      Sage may be served via its registered agent,

Straightline Investments, LLC, which is located at the same address.

                                         4.

      Upon information and belief, Whitman is a foreign limited liability

company, with its principal office located at 3075 Townsgate Road, Suite 210,

Westlake Village, California 91361. Whitman may be served via its registered

agent, Weston Whitman, at 3075 Townsgate Road, Suite 210, Thousand Oaks,

California 91361.




                                        -2-
        Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 3 of 13




                                             5.

        Upon information and belief, and at all times relevant to this action, the

Defendants were co-owners of the Doubletree by Hilton Atlanta Perimeter

Dunwoody, in Georgia.

                                             6.

        The jurisdiction of this Court is proper pursuant to 28 U.S.C. §§ 1331 and

1337.

                                             7.

        All jurisdictional prerequisites to the institution of Plaintiff’s suit under Title

VII have been fulfilled.        Plaintiff filed her charge within 180 days of the

discriminatory acts; Plaintiff was issued a right to sue from the EEOC; and

Plaintiff now files this Complaint within 90 days of receipt of the right to sue.

Plaintiff’s Charge of Discrimination is attached as Exhibit A.

                                             8.

        Pursuant to 28 U.S.C. § 1391, venue is appropriate in this judicial district as

the Defendants conduct business within the Northern District of Georgia.




                                            -3-
      Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 4 of 13




                          FACTUAL ALLEGATIONS

                                         9.

      On or about September 8, 2019, Plaintiff applied online for the position of

Front Office Manager at the Doubletree by Hilton Atlanta Perimeter Dunwoody.

                                        10.

      Plaintiff was contacted by Jamilah Stevenson (“Stevenson”), Assistant

General Manager, and an interview date was set for Plaintiff for the very next day,

September 9, 2019.

                                        11.

      Upon Plaintiff’s arrival at the hotel, she was first interviewed by the

Controller, who advised Plaintiff that following her interview with Stevenson, she

would also interview with the Housekeeping Manager and the Head of

Engineering.

                                        12.

      During Plaintiff’s interview, Stevenson asked Plaintiff twice whether

Plaintiff had open availability. Plaintiff stated that she could be available for all

shifts, days and hours. Stevenson asked Plaintiff what she would do if someone

called out and Plaintiff had other plans. Plaintiff told Stevenson that she would try




                                         -4-
      Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 5 of 13




to find another employee to cover the shift and that, if she could not find someone

to fill in, Plaintiff would cover the open shift herself.

                                           13.

      As the interview was ending, Stevenson asked Plaintiff if she had children.

The question surprised Plaintiff, but she told Stevenson “[y]es, I have a wonderful

set of twins.” Stevenson then told Plaintiff that she did not have any children.

Plaintiff felt uncomfortable with the subject and was concerned that her response

might affect Stevenson’s hiring decision.

                                           14.

      Plaintiff’s interview ended and, contrary to what she was originally told by

the Controller, Plaintiff was not interviewed by the Housekeeping Manager nor the

Head of Engineering.

                                           15.

      A few days later, Plaintiff was advised, via email, that she was not chosen

for the position, although Stevenson evidently made the decision to reject Plaintiff

immediately after questioning Plaintiff in regard to whether she had children, as

Stevenson aborted the interview process that had been previously explained to

Plaintiff by the Controller.




                                           -5-
      Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 6 of 13




                                   COUNT I
                 (Sex Discrimination and Retaliation - Title VII)

                                        16.

      Plaintiff incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.

                                        17.

      Defendants’ treatment of Plaintiff was motivated by and because of

Plaintiff’s sex, which is employment discrimination.

                                        18.

      Defendants discriminated and then retaliated against Plaintiff because of her

sex when they aborted her interview process after being asked whether she had

children, and subsequently, rejected her for employment.

                                        19.

      It is unlawful to reject or hire a candidate based on whether she has

children. These characteristics have nothing to do with the applicant's or

employee's skills or ability to do the job, and are therefore unlawful if they are

used as the basis for employment decisions.

                                        20.

      Defendants discriminated and retaliated against Plaintiff on the basis of sex

in violation of Title VII.

                                        -6-
      Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 7 of 13




                                          21.

      At the time of the discriminatory and retaliatory acts alleged, Defendants

knew or should have known that the means utilized to discriminate against Plaintiff

were discriminatory and forbidden by law.

                                          22.

      Defendants performed the above described discriminatory and retaliatory

actions willfully, wantonly, intentionally, and in reckless and callous disregard of

Plaintiff’s federally protected rights.

                                   COUNT II
                   (Age Discrimination and Retaliation - ADEA)

                                          23.

      Plaintiff incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding paragraphs.

                                          24.

      Defendants discriminated and retaliated against Plaintiff, who was 44 years

old at the time, because she is an older worker, which is employment

discrimination.

                                          25.

      Defendants discriminated and then retaliated against Plaintiff because of her

age when they aborted her interview process.

                                          -7-
      Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 8 of 13




                                          26.

      It is unlawful to reject or hire a candidate based on her age. Age has

nothing to do with the applicant's or employee's skills or ability to do the job, and

is therefore unlawful if used as the basis for employment decisions.

                                          27.

      At the time of the discriminatory and retaliatory acts alleged, Defendants

knew or should have known that the means utilized to discriminate against Plaintiff

were discriminatory and forbidden by law.

                                          28.

      Defendants performed the above described discriminatory and retaliatory

actions willfully, wantonly, intentionally, and in reckless and callous disregard of

Plaintiff’s federally protected rights.

      WHEREFORE, Plaintiff respectfully prays for judgment against the

Defendants, as follows:

      (a)    That Defendants be ordered to formulate, distribute and implement a

             written policy which does not discriminate in any manner which is a

             violation of Title VII or the ADEA;

      (b)    That Defendants be ordered to compensate, reimburse, and make

             whole the Plaintiff for all the benefits, if any, she would have received


                                          -8-
Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 9 of 13




      had it not been for Defendants’ illegal actions, including but not

      limited to pay, benefits, insurance costs, bonuses, raises, training,

      promotions, and seniority;

(c)   That Defendants be ordered to pay Plaintiff back pay in an amount to

      compensate Plaintiff for lost wages;

(d)   That Plaintiff recover front pay;

(e)   That Plaintiff recover liquidated damages for Defendants’ willful

      violations of the ADEA;

(f)   That Plaintiff recover compensatory damages for Defendants’ willful

      violations of Title VII;

(g)   The Plaintiff be awarded punitive damages to punish the Defendants

      for their unlawful actions and violations of Title VII;

(h)   That Plaintiff recover costs and expenses of litigation including an

      award of reasonable attorney's fees;

(i)   That Plaintiff recover prejudgment interest;

(j)   That the Court issue a declaratory judgment that the practices

      complained of are unlawful and void; and

(k)   For such other and further relief as the Court deems just and proper.




                                   -9-
    Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 10 of 13




                                  Jury Demand

     Plaintiff hereby demands a trial by jury of all issues in this action.

     Dated this 12th day of July 2021.

                                       PANKEY & HORLOCK, LLC


                                       By: /s/ Larry A. Pankey            .
                                           Larry A. Pankey
                                           Georgia Bar No. 560725
                                           Attorneys for Plaintiff

1441 Dunwoody Village Parkway
Suite 200
Atlanta, Georgia 30338
Telephone: 770-670-6250
Facsimile: 770-670-6249
LPankey@PankeyHorlock.com




                                         -10-
     Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 11 of 13




                       CERTIFICATION OF FONT SIZE

      Pursuant to Local rule 5.1C of the Local Rules of the United States District

Court for the Northern District of Georgia, I, Larry A. Pankey, Esq., of Pankey &

Horlock, LLC, attorney for Plaintiff, Tracy Wragg, hereby certify that the

foregoing Complaint is typewritten in MS Word using Times New Roman font,

fourteen (14) point type.

      Dated this 12th day of July 2021.

                                      PANKEY & HORLOCK, LLC


                                      By: /s/ Larry A. Pankey         .
                                          Larry A. Pankey
                                          Georgia Bar No. 560725
                                          Attorneys for Plaintiff




                                          -11-
Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 12 of 13
Case 1:21-cv-02774-TWT-JKL Document 1 Filed 07/12/21 Page 13 of 13
